Case 2:18-cv-03970-JAK-JPR Document 30-5 Filed 07/23/18 Page 1 of 44 Page ID #:547




 Ex. E. Infringement Chart for
  Claim 1 of the ’263 Patent

                              SPOTIFY
           Case 2:18-cv-03970-JAK-JPR Document 30-5 Filed 07/23/18 Page 2 of 44 Page ID #:548



PATENT DETAILS
U.S. Patent No.               Method for combining transfer functions
7,664,263                     with predetermined key creation

ISSUE DATE :                  ABSTRACT:
                              A method for combining transfer functions with predetermined key creation. In one
February 16, 2010
                              embodiment, digital information, including a digital sample and format information, is
FILING DATE :                 protected by identifying and encoding a portion of the format information. Encoded
                              digital information, including the digital sample and the encoded format information, is
June 25, 2003
                              generated to protect the original digital information. In another embodiment, a digital
INVENTOR :                    signal, including digital samples in a file format having an inherent granularity, is
                              protected by creating a predetermined key. The predetermined key is comprised of a
Scott A. Moskowitz;
                              transfer function-based mask set to manipulate data at the inherent granularity of the
                              file format of the underlying digitized samples.
            Case 2:18-cv-03970-JAK-JPR Document 30-5 Filed 07/23/18 Page 3 of 44 Page ID #:549




      CLAIM 1                                                           SPOTIFY

1. A method for protecting   Spotify offers a method for protecting a digital signal (music content) through their premium media

a digital signal,            streaming services which can be played on any device. More specifically, Spotify uses a digital
                             rights management system to encrypt the music content which is playable through the Spotify app
comprising the steps of:
                             only. For instance, to play the encrypted music on web browser, Spotify utilizes Encrypted Media
                             Extensions. Spotify uses Google Widevine CDM to enable instant streaming on consumer
                             devices, such as Chrome Browser on Desktop, Firefox Browser on Desktop, Chromecast, Android
                             TVs etc.




                             See Exhibit 1, p. 1, Spotify Web page (Date Accessed 04/27/2018), available at
                             https://open.spotify.com/browse

                             See Exhibit 2, “Discover and stream music across all your devices with Spotify _ FileHippo News” webpage
                             (Date Accessed 04/27/2018), available at
                             https://news.filehippo.com/2016/12/discover-and-stream-music-across-all-your-devices-with-spotify/
            Case 2:18-cv-03970-JAK-JPR Document 30-5 Filed 07/23/18 Page 4 of 44 Page ID #:550




      CLAIM 1                                                          SPOTIFY

1. A method for protecting   Spotify offers Digital Rights Management to offer protection against illegal songs downloads

a digital signal,            through Encrypted Media Extensions (EME). It offers a freemium service to conduct trusted
                             transactions between the user and the Spotify server. The subscription to Spotify allows playback
comprising the steps of:
                             of songs only through Web player or the application and cannot be accessed beyond them.




                             See Exhibit 3, p. 1 & 2, “Spotify Premium” webpage (Date Accessed 04/30/2018), available at
                             https://www.spotify.com/us/premium/
            Case 2:18-cv-03970-JAK-JPR Document 30-5 Filed 07/23/18 Page 5 of 44 Page ID #:551




      CLAIM 1                                                           SPOTIFY

1. A method for protecting
a digital signal,
comprising the steps of:




                             	
                             See Exhibit 4, p. 1, “Create your account - Spotify” webpage (04/30/2018), available at
                             https://support.spotify.com/us/account_payment_help/account_basics/create-your-spotify-account/


                                     “Spotify also plays through several sound systems, TVs, and car stereo systems.
                                     Please contact your device’s manufacturer to determine whether it supports Spotify and, if
                                     so, how to enable it.
                                     Note: The Spotify app can vary across different devices and operating systems. We
                                     recommend running the latest firmware on your device for the best experience.”


                             See Exhibit 5, p. 1, “System requirements - Spotify” webpage (04/30/2018), available at
                             https://support.spotify.com/dk/article/spotify-system-requirements/ (emphasis added)
            Case 2:18-cv-03970-JAK-JPR Document 30-5 Filed 07/23/18 Page 6 of 44 Page ID #:552




      CLAIM 1                                                           SPOTIFY

1. A method for protecting
a digital signal,
comprising the steps of:




                                     “The web player
                                     The web player is supported by the following web browsers:

                                     Chrome
                                     Firefox
                                     Edge
                                     Opera

                                     Spotify content may only be accessed with the Spotify app, the web player website,
                                     or apps otherwise authorized by Spotify.”

                             See Exhibit 5, p. 1, “System requirements - Spotify” webpage (04/30/2018), available at
                             https://support.spotify.com/dk/article/spotify-system-requirements/ (emphasis added)
            Case 2:18-cv-03970-JAK-JPR Document 30-5 Filed 07/23/18 Page 7 of 44 Page ID #:553




      CLAIM 1                                                          SPOTIFY
                             Upon information and belief, services like Spotify uses DRM for playback of the content.
1. A method for protecting
a digital signal,
                                    “We consume movies and music through services like Netflix, Spotify, Pandora, Apple
comprising the steps of:
                                    Music, etc., often over the web. Netflix, et al. are obligated, due to agreements with
                                    content partners, to serve their content with DRM. Moreover, web streaming is likely a
                                    significant chunk of usage for Netflix. This makes the problem of enforcing DRM over
                                    the web an incredibly important problem for Netflix, et al. to solve.


                                    That’s where EMEs come into play. They are essentially a technology that allows the
                                    browser to communicate with DRM systems over an encrypted medium. They make
                                    it possible for DRM software to work over the browser and relay encrypted content
                                    to the user. This means Netflix can serve you a movie that’s encrypted and protected
                                    by DRM.”


                             See Exhibit 6, p. 2, “The most controversial HTML5 extension – LogRocket” blog post (Date Accessed
                             05/01/2018), available at https://blog.logrocket.com/the-most-controversial-html5-extension-7adc66bbc291
                             (emphasis added)
            Case 2:18-cv-03970-JAK-JPR Document 30-5 Filed 07/23/18 Page 8 of 44 Page ID #:554




      CLAIM 1                                                          SPOTIFY
                             Upon information and belief, like Felix, the DRM implemented in Spotify works similarly.
1. A method for protecting
                                    “Say Felix is a movie streaming service that serves up movies over the browser and
a digital signal,
                                    uses EMEs to protect the content it delivers. Suppose that user wants to play some
comprising the steps of:
                                    encrypted content from Felix. Here’s what happens:
                                    The browser will load up this content, realize it is encrypted and then trigger some
                                    Javascript code.
                                    This Javascript will take the encrypted content and pass it along to something called
                                    the Content Decryption Module (CDM) — more on this later.
                                    The CDM will then trigger a request that will be relayed by Felix to the license
                                    server. This is a Felix-controlled server that determines whether or not a particular user is
                                    allowed to play a particular piece of content. If the license server thinks our user can
                                    watch the content, it will send back a decryption key for the content to the CDM.
                                    The CDM will then decrypt the content and it will begin playing for the user.”
                                    The most important chunk of this whole process is the CDM. By its nature, the CDM
                                    has to be a piece of code that’s trusted by Felix. If it isn’t, Felix can’t be sure that it will
                                    do what it wants it to. This means that the CDM has to come with the browser. There are
                                    a couple of different providers for CDMs, including Google’s Widevine and Adobe
                                    Primetime. Both of these provide the encryption support necessary for content
                                    providers such as Felix to enforce DRM.

                             See Exhibit 6, p. 2 & 3, “The most controversial HTML5 extension – LogRocket” blog post (Date Accessed
                             05/01/2018), available at https://blog.logrocket.com/the-most-controversial-html5-extension-7adc66bbc291
                             (emphasis added)
            Case 2:18-cv-03970-JAK-JPR Document 30-5 Filed 07/23/18 Page 9 of 44 Page ID #:555




      CLAIM 1                                                           SPOTIFY

1. A method for protecting           “Web Playback SDK Quick Start BETA

a digital signal,                    Create a simple web app with the Web Playback SDK that allows you to play an
                                     audio track inside your browser.
comprising the steps of:
                                     By using Spotify developer tools, you accept our Developer Terms of Service. They contain
                                     important information about what you can and can’t do with our developer tools. Please
                                     read them carefully.
                                     Introduction
                                     The Web Playback SDK is client-side JavaScript library which allows you to create a
                                     new player in Spotify Connect and play any audio track from Spotify in the browser
                                     via Encrypted Media Extensions.
                                     You can read more about the SDK in the overview, or dig into the reference
                                     documentation. In this Quick Start, we will be adding the Web Playback SDK to a simple
                                     HTML page.
                                     Authenticating with Spotify
                                     You will need an access token from your personal Spotify Premium account. Click
                                     the button below to quickly obtain your access token.”
                                     	
                             See Exhibit 7, p. 1, “Web Playback SDK Quick Start _ Spotify for Developers” webpage (Date Accessed
                             05/01/2018), available at https://beta.developer.spotify.com/documentation/web-playback-sdk/quick-start/
                             (emphasis added)
              Case 2:18-cv-03970-JAK-JPR Document 30-5 Filed 07/23/18 Page 10 of 44 Page ID
                                                 #:556




      CLAIM 1                                                    SPOTIFY

1. A method for protecting        “Encrypted Media Extensions provides an API that enables web applications to

a digital signal,                 interact with content protection systems, to allow playback of encrypted audio and
                                  video.
comprising the steps of:
                                  EME is designed to enable the same app and encrypted files to be used in any
                                  browser, regardless of the underlying protection system. The former is made possible
                                  by the standardized APIs and flow while the latter is made possible by the concept of
                                  Common Encryption
                                  EME is an extension to the HTMLMediaElement specification — hence the name. Being
                                  an 'extension' means that browser support for EME is optional: if a browser does not
                                  support encrypted media, it will not be able to play encrypted media, but EME is not
                                  required for HTML spec compliance
                                  “EME implementations use the following external components:
                                  Key System: A content protection (DRM) mechanism. EME doesn't define Key
                                  Systems themselves, apart from Clear Key (more about that below).
                                  Content Decryption Module (CDM): A client-side software or hardware mechanism
                                  that enables playback of encrypted media. As with Key Systems, EME doesn't define
                                  any CDMs, but provides an interface for applications to interact with CDMs that are
                                  available.
                                  License (Key) server: Interacts with a CDM to provide keys to decrypt media.
                                  Negotiation with the license server is the responsibility of the application.
                                                                                                   continued on next slide.
              Case 2:18-cv-03970-JAK-JPR Document 30-5 Filed 07/23/18 Page 11 of 44 Page ID
                                                 #:557




      CLAIM 1                                                          SPOTIFY

1. A method for protecting          Packaging service: Encodes and encrypts media for distribution/consumption.

a digital signal,                   Note that an application using EME interacts with a license server to get keys to
                                    enable decryption, but user identity and authentication are not part of EME. Retrieval of
comprising the steps of:
                                    keys to enable media playback happens after (optionally) authenticating a user.
                                    Services such as Netflix must authenticate users within their web application: when
                                    a user signs into the application, the application determines the user's identity and
                                    privileges.”


                             See Exhibit 8, p. 1, “What is EME_ _ Web Fundamentals _ Google Developers” forum page (Date
                             Accessed 05/02/2018), available at https://developers.google.com/web/fundamentals/media/eme (emphasis
                             added)




                             Thus, this claim element is infringed literally, or in the alternative under the doctrine of equivalents.
               Case 2:18-cv-03970-JAK-JPR Document 30-5 Filed 07/23/18 Page 12 of 44 Page ID
                                                  #:558




      CLAIM 1                                                              SPOTIFY

providing a digital signal    Spotify provides digital content (online music streaming) through its web player and App. The

comprising digital data       music is available in Ogg Vorbis format (digital signal encoded). Upon information and belief,
                              Spotify makes available 96 Kbps – 160 Kbps Music bitrate for Spotify Free customers (file format
and file format information
                              information) and up to 320 Kbps for Spotify Premium customers.
defining how the digital
signal is encoded;
                                      “Generally ou can only use Spotify to play offline music synced from Spotify.
                                      The files are Ogg Vorbis format but encrtyped by Spotify, so no other media scanner
                                      will recognize them as music files.”

                              See Exhibit 25, p. 2, “Solved_ Where does Spotify save the offline playlist files... - The Spotify Community”
                              webpage (Date Accessed 05/07/2018), available at
                              https://community.spotify.com/t5/Android/Where-does-Spotify-save-the-offline-playlist-files/td-p/6929
                              (emphasis added)

                                      “With Spotify, it’s easy to find the right music for every moment – on your phone,
                                      your computer, your tablet and more.

                                      There are millions of tracks on Spotify. So whether you’re working out, partying or
                                      relaxing, the right music is always at your fingertips. Choose what you want to listen
                                      to, or let Spotify surprise you.

                                      You can also browse through the music collections of friends, artists and celebrities, or
                                      create a radio station and just sit back.

                                      Soundtrack your life with Spotify. Subscribe or listen for free.”

                              See Exhibit 26, p. 1, “Contact - Spotify” webpage (Date Accessed 05/07/2018), available at
                              https://www.spotify.com/us/about-us/contact/ (emphasis added)
               Case 2:18-cv-03970-JAK-JPR Document 30-5 Filed 07/23/18 Page 13 of 44 Page ID
                                                  #:559




      CLAIM 1                                                           SPOTIFY

providing a digital signal
comprising digital data
and file format information
defining how the digital
signal is encoded;




                              See Exhibit 3, p. 1 & 2, “Spotify Premium” webpage (Date Accessed 04/30/2018), available at
                              https://www.spotify.com/us/premium/
               Case 2:18-cv-03970-JAK-JPR Document 30-5 Filed 07/23/18 Page 14 of 44 Page ID
                                                  #:560




      CLAIM 1                                                           SPOTIFY

providing a digital signal            “6. Audio Quality: 160Kbps VS 320Kbps

comprising digital data              On desktop, default streaming audio quality for Spotify Free users is Ogg Vorbis
                                     160kbit/s while Premium subscribers can choose to switch on High quality
and file format information
                                     streaming, which uses 320kbit/s. On iPhone, iPad or Android, Spotify Free users can
defining how the digital
                                     choose either 96kbit/s or 160kbit/s while Premium subscribers have one more option which
signal is encoded;
                                     is 320kbit/s. As to streaming audio quality on Chromecast, it's AAC 128kbit/s for Spotify
                                     Free, and 256kbit/s for Spotify Premium.”


                              See Exhibit 27, p. 5, “Spotify Free VS Premium_ 6 Differences You Need to Know” webpage (Date
                              Accessed 05/08/2018), available at
                              http://www.tunemobie.com/resources/spotify-free-vs-premium-6-differences.html (emphasis added)


                                     “AUDIO QUALITY
                                     Spotify uses three different quality settings for streaming, all in the Ogg Vorbis
                                     format. 96kbps is the standard bitrate for mobile, which then jumps to 160kbps for
                                     desktop and web player 'standard quality' and 'high quality' on mobile.
                                     If you pay the monthly fee for Spotify Premium, you'll get 320kbps which is 'high
                                     quality' on desktop and 'extreme quality' on mobile.”

                              See Exhibit 28, p. 3, “Spotify Free vs Spotify Premium - Tech Advisor” webpage (Date Accessed
                              05/08/2018), available at
                              https://www.techadvisor.co.uk/review/audio-and-music-software/spotify-free-vs-spotify-premium-3597766/
                              (emphasis added)
               Case 2:18-cv-03970-JAK-JPR Document 30-5 Filed 07/23/18 Page 15 of 44 Page ID
                                                  #:561




      CLAIM 1                                                            SPOTIFY

providing a digital signal
comprising digital data
and file format information
defining how the digital
signal is encoded;




                              See Exhibit 29, p. 1, “Audio settings - Spotify” webpage (Date Accessed 05/08/2018), available at
                              https://support.spotify.com/is/article/high-quality-streaming/?ref=related
               Case 2:18-cv-03970-JAK-JPR Document 30-5 Filed 07/23/18 Page 16 of 44 Page ID
                                                  #:562




      CLAIM 1                                                            SPOTIFY

providing a digital signal             “In accordance with some implementations, a method of providing media content is

comprising digital data               disclosed herein. The method is performed at a computer system (e.g., a server
                                      system) with one or more processors and memory. The method includes obtaining
and file format information
                                      content-access information that enables distribution of content to a plurality of
defining how the digital
                                      clients having different file format processing capabilities. The method also includes
signal is encoded;
                                      providing to a first client, having first file format processing capabilities, first
                                      information that enables the first client to access respective content in a first file
                                      format.”



                              See Exhibit 30, at Col. 2:49-58, “U.S. Patent No. 9,529,888 - System and method for efficiently providing
                              media and associated metadata.” Patent assigned to Spotify (Date Accessed 05/10/2018), available at
                              https://patentimages.storage.googleapis.com/88/d4/11/6b1fc7c1e09e6b/US9529888.pdf (emphasis added)




                              Thus, this claim element is infringed literally, or in the alternative under the doctrine of equivalents.
              Case 2:18-cv-03970-JAK-JPR Document 30-5 Filed 07/23/18 Page 17 of 44 Page ID
                                                 #:563




      CLAIM 1                                                          SPOTIFY

creating a predetermined     The digital content is manipulated using a predetermined key (here Encrypted Media Extensions

key to manipulate the        (EME)) before transmission from Party 1 to Party 2 so that it is not compromised or deciphered by
                             an unauthorized user. The package’s encrypted content will have a unique license identification
digital signal wherein the
                             information which can be only decrypted using a proper key.
predetermined key
comprises a plurality of
                                    “We consume movies and music through services like Netflix, Spotify, Pandora, Apple
mask sets; and
                                    Music, etc., often over the web. Netflix, et al. are obligated, due to agreements with
                                    content partners, to serve their content with DRM. Moreover, web streaming is likely a
                                    significant chunk of usage for Netflix. This makes the problem of enforcing DRM over
                                    the web an incredibly important problem for Netflix, et al. to solve.


                                    That’s where EMEs come into play. They are essentially a technology that allows the
                                    browser to communicate with DRM systems over an encrypted medium. They make
                                    it possible for DRM software to work over the browser and relay encrypted content
                                    to the user. This means Netflix can serve you a movie that’s encrypted and protected
                                    by DRM.”


                             See Exhibit 6, p. 2, “The most controversial HTML5 extension – LogRocket” blog post (Date Accessed
                             05/01/2018), available at https://blog.logrocket.com/the-most-controversial-html5-extension-7adc66bbc291
                             (emphasis added)
              Case 2:18-cv-03970-JAK-JPR Document 30-5 Filed 07/23/18 Page 18 of 44 Page ID
                                                 #:564




      CLAIM 1                                                          SPOTIFY

creating a predetermined            “Say Felix is a movie streaming service that serves up movies over the browser and

key to manipulate the               uses EMEs to protect the content it delivers. Suppose that user wants to play some
                                    encrypted content from Felix. Here’s what happens:
digital signal wherein the
                                    The browser will load up this content, realize it is encrypted and then trigger some
predetermined key
                                    Javascript code.
comprises a plurality of
                                    This Javascript will take the encrypted content and pass it along to something called
mask sets; and
                                    the Content Decryption Module (CDM) — more on this later.
                                    The CDM will then trigger a request that will be relayed by Felix to the license
                                    server. This is a Felix-controlled server that determines whether or not a particular user is
                                    allowed to play a particular piece of content. If the license server thinks our user can
                                    watch the content, it will send back a decryption key for the content to the CDM.
                                    The CDM will then decrypt the content and it will begin playing for the user.”
                                    The most important chunk of this whole process is the CDM. By its nature, the CDM
                                    has to be a piece of code that’s trusted by Felix. If it isn’t, Felix can’t be sure that it will
                                    do what it wants it to. This means that the CDM has to come with the browser. There are
                                    a couple of different providers for CDMs, including Google’s Widevine and Adobe
                                    Primetime. Both of these provide the encryption support necessary for content
                                    providers such as Felix to enforce DRM.

                             See Exhibit 6, p. 2 & 3, “The most controversial HTML5 extension – LogRocket” blog post (Date Accessed
                             05/01/2018), available at https://blog.logrocket.com/the-most-controversial-html5-extension-7adc66bbc291
                             (emphasis added)
              Case 2:18-cv-03970-JAK-JPR Document 30-5 Filed 07/23/18 Page 19 of 44 Page ID
                                                 #:565




      CLAIM 1                                                    SPOTIFY

creating a predetermined          “Encrypted Media Extensions provides an API that enables web applications to

key to manipulate the             interact with content protection systems, to allow playback of encrypted audio and
                                  video.
digital signal wherein the
                                  EME is designed to enable the same app and encrypted files to be used in any
predetermined key
                                  browser, regardless of the underlying protection system. The former is made possible
comprises a plurality of
                                  by the standardized APIs and flow while the latter is made possible by the concept of
mask sets; and
                                  Common Encryption
                                  EME is an extension to the HTMLMediaElement specification — hence the name. Being
                                  an 'extension' means that browser support for EME is optional: if a browser does not
                                  support encrypted media, it will not be able to play encrypted media, but EME is not
                                  required for HTML spec compliance
                                  “EME implementations use the following external components:
                                  Key System: A content protection (DRM) mechanism. EME doesn't define Key
                                  Systems themselves, apart from Clear Key (more about that below).
                                  Content Decryption Module (CDM): A client-side software or hardware mechanism
                                  that enables playback of encrypted media. As with Key Systems, EME doesn't define
                                  any CDMs, but provides an interface for applications to interact with CDMs that are
                                  available.
                                  License (Key) server: Interacts with a CDM to provide keys to decrypt media.
                                  Negotiation with the license server is the responsibility of the application.
                                                                                                   continued on next slide.
              Case 2:18-cv-03970-JAK-JPR Document 30-5 Filed 07/23/18 Page 20 of 44 Page ID
                                                 #:566




      CLAIM 1                                                           SPOTIFY

creating a predetermined            Packaging service: Encodes and encrypts media for distribution/consumption.

key to manipulate the               Note that an application using EME interacts with a license server to get keys to
                                    enable decryption, but user identity and authentication are not part of EME. Retrieval of
digital signal wherein the
                                    keys to enable media playback happens after (optionally) authenticating a user.
predetermined key
                                    Services such as Netflix must authenticate users within their web application: when
comprises a plurality of
                                    a user signs into the application, the application determines the user's identity and
mask sets; and
                                    privileges.”


                             See Exhibit 8, p. 1, “What is EME_ _ Web Fundamentals _ Google Developers” forum page (Date
                             Accessed 05/02/2018), available at https://developers.google.com/web/fundamentals/media/eme (emphasis
                             added)


                                    “The authorization flow we use in this tutorial is the Authorization Code Flow. This
                                    flow first gets a code from the Spotify Accounts Service, then exchanges that code
                                    for an access token. The code-to-token exchange requires a secret key, and for
                                    security is done through direct server-to-server communication.”

                             See Exhibit 9, p. 1, “Web API Tutorial _ Spotify for Developers” webpage (Date Accessed 05/02/2018),
                             available at https://beta.developer.spotify.com/documentation/web-api/quick-start/ (emphasis added)
              Case 2:18-cv-03970-JAK-JPR Document 30-5 Filed 07/23/18 Page 21 of 44 Page ID
                                                 #:567




      CLAIM 1                                                            SPOTIFY

creating a predetermined             “a media delivery module 122 for sending (e.g., streaming) media content to a client

key to manipulate the                device (e.g., client device 110-1) remote from sever system 120-1 in response to the
                                     request from client device 110-1, media delivery module 122 including but not limited to:
digital signal wherein the
                                             an encoding module 318 for encoding media content prior to sending (e.g.,
predetermined key
                                             streaming) the media content to client device 110-1 or to other content sources
comprises a plurality of
                                             for storage;
mask sets; and
                                             an encryption module 320 for encrypting one or more portions of media
                                             content prior to sending (e.g., streaming) the media content to client device
                                             110-1.”




                             See Exhibit 30, at Col. 11:08-21 & Fig. 3, “U.S. Patent No. 9,529,888 - System and method for efficiently
                             providing media and associated metadata.” Patent assigned to Spotify (Date Accessed 05/10/2018),
                             available at https://patentimages.storage.googleapis.com/88/d4/11/6b1fc7c1e09e6b/US9529888.pdf
                             (emphasis added)
              Case 2:18-cv-03970-JAK-JPR Document 30-5 Filed 07/23/18 Page 22 of 44 Page ID
                                                 #:568




      CLAIM 1                                                         SPOTIFY

creating a predetermined     Upon information and belief, Spotify works similarly utilizing the CDM module as explained here.

key to manipulate the               “Getting a key from a license server
                                    In typical commercial use, content will be encrypted and encoded using a packaging
digital signal wherein the
                                    service or tool. Once the encrypted media is made available online, a web client can
predetermined key
                                    obtain a key (contained within a license) from a license server and use the key to
comprises a plurality of
                                    enable decryption and playback of the content.
mask sets; and
                                    The following code (adapted from the spec examples) shows how an application can
                                    select an appropriate key system and obtain a key from a license server.”




                             See Exhibit 8, p. 1, “What is EME_ _ Web Fundamentals _ Google Developers” forum page (Date
                             Accessed 05/02/2018), available at https://developers.google.com/web/fundamentals/media/eme (emphasis
                             added).
              Case 2:18-cv-03970-JAK-JPR Document 30-5 Filed 07/23/18 Page 23 of 44 Page ID
                                                 #:569




      CLAIM 1                                                           SPOTIFY

creating a predetermined
key to manipulate the
digital signal wherein the
predetermined key
comprises a plurality of
mask sets; and




                             See Exhibit 11, p. 4, “Authorization Guide _ Spotify for Developers“ webpage (Date Accessed 05/03/2018),
                             available at https://beta.developer.spotify.com/documentation/general/guides/authorization-guide/ (emphasis
                             added)
              Case 2:18-cv-03970-JAK-JPR Document 30-5 Filed 07/23/18 Page 24 of 44 Page ID
                                                 #:570




      CLAIM 1                                                          SPOTIFY

creating a predetermined
key to manipulate the
digital signal wherein the
predetermined key
comprises a plurality of
mask sets; and




                             See Exhibit 32, p. 5, “steal-this-movie-automatically-bypassing-drm-protection-usenix2013“ PDF (Date
                             A c c e s s e d               0 5 / 1 5 / 2 0 1 8 ) ,                  a v a i l a b l e             a t
                             http://sefcom.asu.edu/publications/steal-this-movie-automatically-bypassing-drm-protection-usenix2013.pdf
                             (emphasis added)
              Case 2:18-cv-03970-JAK-JPR Document 30-5 Filed 07/23/18 Page 25 of 44 Page ID
                                                 #:571




      CLAIM 1                                                            SPOTIFY

creating a predetermined             “Stream ciphers can be viewed as approximating the action of a proven unbreakable cipher,

key to manipulate the                the one-time pad (OTP), sometimes known as the Vernam cipher. A one-time pad uses a
                                     keystream of completely random digits. The keystream is combined with the plaintext
digital signal wherein the
                                     digits one at a time to form the ciphertext. This system was proved to be secure by
predetermined key
                                     Claude E. Shannon in 1949. However, the keystream must be generated completely at
comprises a plurality of             random with at least the same length as the plaintext and cannot be used more than once.”
mask sets; and
                             See Exhibit 33, p. 1, “Stream cipher - Wikipedia “ Wikipedia article (Date Accessed 05/15/2018), available at
                             https://en.wikipedia.org/wiki/Stream_cipher (emphasis added)




                             See Exhibit 34, p. 1, “GitHub - chatoooo_shannon_ Pure Go implementation of shannon stream cipher“
                             Wikipedia article (Date Accessed 05/15/2018), available at https://github.com/chatoooo/shannon
              Case 2:18-cv-03970-JAK-JPR Document 30-5 Filed 07/23/18 Page 26 of 44 Page ID
                                                 #:572




      CLAIM 1                                                          SPOTIFY

creating a predetermined            “How does EME Work?”

key to manipulate the
digital signal wherein the
predetermined key
comprises a plurality of
mask sets; and




                             See Exhibit 8, p. 1, “What is EME_ _ Web Fundamentals _ Google Developers” forum page (Date
                             Accessed 05/02/2018), available at https://developers.google.com/web/fundamentals/media/eme (emphasis
                             added)

                             Thus, this claim element is infringed literally, or in the alternative under the doctrine of equivalents.
               Case 2:18-cv-03970-JAK-JPR Document 30-5 Filed 07/23/18 Page 27 of 44 Page ID
                                                  #:573




      CLAIM 1                                                           SPOTIFY

manipulating the digital      The data is manipulated (through Encrypted Media Extensions (EME)) before transmission from

signal using the              Party 1 to Party 2 so that it is not compromised or deciphered by an unauthorized user. The
                              package’s encrypted content will have a unique license identification information which can be
predetermined key to
                              only decrypted using a proper key. Without the key, the music is encoded at a lower bitrate
generate at least one
                              (parametrized by the file format information) than if accessed through Spotify Premium.
permutation of the digital
signal parameterized by
                                     “We consume movies and music through services like Netflix, Spotify, Pandora, Apple
the file format information          Music, etc., often over the web. Netflix, et al. are obligated, due to agreements with
defining how the digital             content partners, to serve their content with DRM. Moreover, web streaming is likely a
signal is encoded;                   significant chunk of usage for Netflix. This makes the problem of enforcing DRM over
                                     the web an incredibly important problem for Netflix, et al. to solve.


                                     That’s where EMEs come into play. They are essentially a technology that allows the
                                     browser to communicate with DRM systems over an encrypted medium. They make
                                     it possible for DRM software to work over the browser and relay encrypted content
                                     to the user. This means Netflix can serve you a movie that’s encrypted and protected
                                     by DRM.”


                              See Exhibit 6, p. 2, “The most controversial HTML5 extension – LogRocket” blog post (Date Accessed
                              05/01/2018), available at https://blog.logrocket.com/the-most-controversial-html5-extension-7adc66bbc291
                              (emphasis added).
               Case 2:18-cv-03970-JAK-JPR Document 30-5 Filed 07/23/18 Page 28 of 44 Page ID
                                                  #:574




      CLAIM 1                                                           SPOTIFY

manipulating the digital             “Say Felix is a movie streaming service that serves up movies over the browser and

signal using the                     uses EMEs to protect the content it delivers. Suppose that user wants to play some
                                     encrypted content from Felix. Here’s what happens:
predetermined key to
                                     The browser will load up this content, realize it is encrypted and then trigger some
generate at least one
                                     Javascript code.
permutation of the digital
                                     This Javascript will take the encrypted content and pass it along to something called
signal parameterized by
                                     the Content Decryption Module (CDM) — more on this later.
the file format information          The CDM will then trigger a request that will be relayed by Felix to the license
defining how the digital             server. This is a Felix-controlled server that determines whether or not a particular user is
signal is encoded;                   allowed to play a particular piece of content. If the license server thinks our user can
                                     watch the content, it will send back a decryption key for the content to the CDM.
                                     The CDM will then decrypt the content and it will begin playing for the user.”
                                     The most important chunk of this whole process is the CDM. By its nature, the CDM
                                     has to be a piece of code that’s trusted by Felix. If it isn’t, Felix can’t be sure that it will
                                     do what it wants it to. This means that the CDM has to come with the browser. There are
                                     a couple of different providers for CDMs, including Google’s Widevine and Adobe
                                     Primetime. Both of these provide the encryption support necessary for content
                                     providers such as Felix to enforce DRM.

                              See Exhibit 6, p. 2 & 3, “The most controversial HTML5 extension – LogRocket” blog post (Date Accessed
                              05/01/2018), available at https://blog.logrocket.com/the-most-controversial-html5-extension-7adc66bbc291
                              (emphasis added).
               Case 2:18-cv-03970-JAK-JPR Document 30-5 Filed 07/23/18 Page 29 of 44 Page ID
                                                  #:575




      CLAIM 1                                                     SPOTIFY

manipulating the digital           “Encrypted Media Extensions provides an API that enables web applications to

signal using the                   interact with content protection systems, to allow playback of encrypted audio and
                                   video.
predetermined key to
                                   EME is designed to enable the same app and encrypted files to be used in any
generate at least one
                                   browser, regardless of the underlying protection system. The former is made possible
permutation of the digital
                                   by the standardized APIs and flow while the latter is made possible by the concept of
signal parameterized by
                                   Common Encryption
the file format information        EME is an extension to the HTMLMediaElement specification — hence the name. Being
defining how the digital           an 'extension' means that browser support for EME is optional: if a browser does not
signal is encoded;                 support encrypted media, it will not be able to play encrypted media, but EME is not
                                   required for HTML spec compliance
                                   “EME implementations use the following external components:
                                   Key System: A content protection (DRM) mechanism. EME doesn't define Key
                                   Systems themselves, apart from Clear Key (more about that below).
                                   Content Decryption Module (CDM): A client-side software or hardware mechanism
                                   that enables playback of encrypted media. As with Key Systems, EME doesn't define
                                   any CDMs, but provides an interface for applications to interact with CDMs that are
                                   available.
                                   License (Key) server: Interacts with a CDM to provide keys to decrypt media.
                                   Negotiation with the license server is the responsibility of the application.
                                                                                                    continued on next slide.
               Case 2:18-cv-03970-JAK-JPR Document 30-5 Filed 07/23/18 Page 30 of 44 Page ID
                                                  #:576




      CLAIM 1                                                            SPOTIFY

manipulating the digital             Packaging service: Encodes and encrypts media for distribution/consumption.

signal using the                     Note that an application using EME interacts with a license server to get keys to
                                     enable decryption, but user identity and authentication are not part of EME. Retrieval of
predetermined key to
                                     keys to enable media playback happens after (optionally) authenticating a user.
generate at least one
                                     Services such as Netflix must authenticate users within their web application: when
permutation of the digital
                                     a user signs into the application, the application determines the user's identity and
signal parameterized by
                                     privileges.”
the file format information
defining how the digital      See Exhibit 8, p. 1, “What is EME_ _ Web Fundamentals _ Google Developers” forum page (Date
                              Accessed 05/02/2018), available at https://developers.google.com/web/fundamentals/media/eme (emphasis
signal is encoded;            added).


                                     “The authorization flow we use in this tutorial is the Authorization Code Flow. This
                                     flow first gets a code from the Spotify Accounts Service, then exchanges that code
                                     for an access token. The code-to-token exchange requires a secret key, and for
                                     security is done through direct server-to-server communication.”

                              See Exhibit 9, p. 1, “Web API Tutorial _ Spotify for Developers” webpage (Date Accessed 05/02/2018),
                              available at https://beta.developer.spotify.com/documentation/web-api/quick-start/ (emphasis added).
               Case 2:18-cv-03970-JAK-JPR Document 30-5 Filed 07/23/18 Page 31 of 44 Page ID
                                                  #:577




      CLAIM 1                                                          SPOTIFY

manipulating the digital             “How does EME Work?”

signal using the
predetermined key to
generate at least one
permutation of the digital
signal parameterized by
the file format information
defining how the digital
signal is encoded;




                              See Exhibit 8, p. 1, “What is EME_ _ Web Fundamentals _ Google Developers” forum page (Date
                              Accessed 05/02/2018), available at https://developers.google.com/web/fundamentals/media/eme (emphasis
                              added).
               Case 2:18-cv-03970-JAK-JPR Document 30-5 Filed 07/23/18 Page 32 of 44 Page ID
                                                  #:578




      CLAIM 1                                                          SPOTIFY

manipulating the digital      Upon information and belief, Spotify works similarly utilizing the CDM module as explained here.

signal using the                     “Getting a key from a license server
                                     In typical commercial use, content will be encrypted and encoded using a packaging
predetermined key to
                                     service or tool. Once the encrypted media is made available online, a web client can
generate at least one
                                     obtain a key (contained within a license) from a license server and use the key to
permutation of the digital
                                     enable decryption and playback of the content.
signal parameterized by
                                     The following code (adapted from the spec examples) shows how an application can
the file format information          select an appropriate key system and obtain a key from a license server.”
defining how the digital
signal is encoded;




                              See Exhibit 8, p. 1, “What is EME_ _ Web Fundamentals _ Google Developers” forum page (Date
                              Accessed 05/02/2018), available at https://developers.google.com/web/fundamentals/media/eme (emphasis
                              added).
               Case 2:18-cv-03970-JAK-JPR Document 30-5 Filed 07/23/18 Page 33 of 44 Page ID
                                                  #:579




      CLAIM 1                                                           SPOTIFY

manipulating the digital
signal using the
predetermined key to
generate at least one
permutation of the digital
signal parameterized by
the file format information
defining how the digital
signal is encoded;




                              See Exhibit 32, p. 5, “steal-this-movie-automatically-bypassing-drm-protection-usenix2013“ PDF (Date
                              A c c e s s e d               0 5 / 1 5 / 2 0 1 8 ) ,                  a v a i l a b l e             a t
                              http://sefcom.asu.edu/publications/steal-this-movie-automatically-bypassing-drm-protection-usenix2013.pdf
                              (emphasis added)
               Case 2:18-cv-03970-JAK-JPR Document 30-5 Filed 07/23/18 Page 34 of 44 Page ID
                                                  #:580




      CLAIM 1                                                           SPOTIFY

manipulating the digital             “There are two basic ways you can authenticate your application’s user and pass the

signal using the                     scopes needed to get authorization to access user data:
                                     The preferred and highly recommended way: Use the Spotify client to authenticate the
predetermined key to
                                     user (with a fallback to login through a WebView). If Spotify is installed on the device,
generate at least one
                                     SDK connects to the Spotify client and uses current session. If Spotify is not
permutation of the digital
                                     installed, this method will fall back to using Android WebView class which allows
signal parameterized by
                                     you to display a web page as part of your activity layout. Authentication and
the file format information          authorization takes place in the WebView without leaving the application.
defining how the digital             Only if the first way is not possible: Login through a web browser. This method opens
signal is encoded;                   the Spotify Accounts page in a separate, external browser window, completes the
                                     authentication process, and then redirects back to your application.”

                              See Exhibit 10, p. 1, “Android SDK Authentication Guide _ Spotify for Developers” webpage (Date Accessed
                              05/02/2018), available at
                              https://beta.developer.spotify.com/documentation/android-sdk/guides/android-authentication/ (emphasis
                              added).
               Case 2:18-cv-03970-JAK-JPR Document 30-5 Filed 07/23/18 Page 35 of 44 Page ID
                                                  #:581




      CLAIM 1                                                           SPOTIFY

manipulating the digital             ““Single Sign-On with Spotify Client and a WebView Fallback

signal using the                     In this flow, the Android SDK will try to fetch the authorization code/access token
                                     using the Spotify Android client.
predetermined key to
                                     Note: to be able to use Single Sign-On you need to register your application’s fingerprint.
generate at least one
                                     Please see Registering Application Fingerprint section of the tutorial.
permutation of the digital
                                     If Spotify is installed on the device, the SDK will connect to the Spotify client and
signal parameterized by
                                     fetch the authorization code/access token for current user. Since the user is already
the file format information          logged into Spotify, they don’t need to type in their username and password. If the SDK
defining how the digital             application requests scopes that have not been approved before, the user will see a list of
signal is encoded;                   scopes and will need to accept them.
                                     If Spotify is not installed on the device, the SDK will fallback to the WebView based
                                     authorization and open the Spotify Accounts login page at https://
                                     accounts.spotify.com in a native WebView. User will have to enter their username and
                                     password to login to Spotify and accept the supplied scopes.
                                     In both cases the result of the authorization flow will be returned in the
                                     onActivityResult method of the activity that initiated it.
                                     This flow is entirely completed within the application; there is no need to open a web
                                     browser.”


                              See Exhibit 10, p. 2, “Android SDK Authentication Guide _ Spotify for Developers” webpage (Date Accessed
                              05/02/2018), available at
                              https://beta.developer.spotify.com/documentation/android-sdk/guides/android-authentication/ (emphasis
                              added).
               Case 2:18-cv-03970-JAK-JPR Document 30-5 Filed 07/23/18 Page 36 of 44 Page ID
                                                  #:582




      CLAIM 1                                                           SPOTIFY

manipulating the digital              “6. Audio Quality: 160Kbps VS 320Kbps

signal using the                     On desktop, default streaming audio quality for Spotify Free users is Ogg Vorbis
                                     160kbit/s while Premium subscribers can choose to switch on High quality
predetermined key to
                                     streaming, which uses 320kbit/s. On iPhone, iPad or Android, Spotify Free users can
generate at least one
                                     choose either 96kbit/s or 160kbit/s while Premium subscribers have one more option which
permutation of the digital
                                     is 320kbit/s. As to streaming audio quality on Chromecast, it's AAC 128kbit/s for Spotify
signal parameterized by
                                     Free, and 256kbit/s for Spotify Premium.”
the file format information
defining how the digital      See Exhibit 27, p. 5, “Spotify Free VS Premium_ 6 Differences You Need to Know” webpage (Date
                              Accessed 05/08/2018), available at
signal is encoded;            http://www.tunemobie.com/resources/spotify-free-vs-premium-6-differences.html (emphasis added)


                                     “AUDIO QUALITY
                                     Spotify uses three different quality settings for streaming, all in the Ogg Vorbis
                                     format. 96kbps is the standard bitrate for mobile, which then jumps to 160kbps for
                                     desktop and web player 'standard quality' and 'high quality' on mobile.
                                     If you pay the monthly fee for Spotify Premium, you'll get 320kbps which is 'high
                                     quality' on desktop and 'extreme quality' on mobile.”

                              See Exhibit 28, p. 3, “Spotify Free vs Spotify Premium - Tech Advisor” webpage (Date Accessed
                              05/08/2018), available at
                              https://www.techadvisor.co.uk/review/audio-and-music-software/spotify-free-vs-spotify-premium-3597766/
                              (emphasis added)
               Case 2:18-cv-03970-JAK-JPR Document 30-5 Filed 07/23/18 Page 37 of 44 Page ID
                                                  #:583




      CLAIM 1                                                          SPOTIFY

manipulating the digital      Spotify complies with RFC 6749 standard for authorization code flow

signal using the
predetermined key to
generate at least one
permutation of the digital
signal parameterized by
the file format information
defining how the digital
signal is encoded;




                              See Exhibit 14, p. 24, “RFC 6749 - The OAuth 2.0 Authorization Framework” webpage (Date Accessed
                              05/01/2018), available at https://tools.ietf.org/html/rfc6749#section-4.1 (emphasis added)
               Case 2:18-cv-03970-JAK-JPR Document 30-5 Filed 07/23/18 Page 38 of 44 Page ID
                                                  #:584




      CLAIM 1                                                           SPOTIFY

manipulating the digital             “The flow illustrated in Figure 3 includes the following steps:

signal using the                     (A)  The client initiates the flow by directing the resource owner's user-agent to the
                                         authorization endpoint. The client includes its client identifier, requested scope,
predetermined key to
                                         local state, and a redirection URI to which the authorization server will send the
generate at least one
                                         user-agent back once access is granted (or denied).
permutation of the digital           (B)  The authorization server authenticates the resource owner (via the user-agent) and
signal parameterized by                  establishes whether the resource owner grants or denies the client's access request.
the file format information          (C)  Assuming the resource owner grants access, the authorization server redirects the
defining how the digital                 user-agent back to the client using the redirection URI provided earlier (in the

signal is encoded;                       request or during client registration). The redirection URI includes an authorization code
                                         and any local state provided by the client earlier.
                                     (D)  The client requests an access token from the authorization server's token endpoint
                                         by including the authorization code received in the previous step. When making the
                                         request, the client authenticates with the authorization server. The client includes the
                                         redirection URI used to obtain the authorization code for verification.
                                     (E)  The authorization server authenticates the client, validates the authorization code,
                                         and ensures that the redirection URI received matches the URI used to redirect the
                                         client in step (C). If valid, the authorization server responds back with an access
                                         token and, optionally, a refresh token.”

                              See Exhibit 14, p. 25, “RFC 6749 - The OAuth 2.0 Authorization Framework” webpage (Date Accessed
                              05/01/2018), available at https://tools.ietf.org/html/rfc6749#section-4.1 (emphasis added)
               Case 2:18-cv-03970-JAK-JPR Document 30-5 Filed 07/23/18 Page 39 of 44 Page ID
                                                  #:585




      CLAIM 1                                                           SPOTIFY

manipulating the digital
signal using the
predetermined key to
generate at least one
permutation of the digital
signal parameterized by
the file format information
defining how the digital
signal is encoded;




                              See Exhibit 11, p. 1-3, “Authorization Guide _ Spotify for Developers“ webpage (Date Accessed
                              0    5     /   0    3    /    2   0   1   8    )   ,      a   v    a    i    l   a    b   l   e     a  t
                              https://beta.developer.spotify.com/documentation/general/guides/authorization-guide/ (emphasis added).
               Case 2:18-cv-03970-JAK-JPR Document 30-5 Filed 07/23/18 Page 40 of 44 Page ID
                                                  #:586




      CLAIM 1                                                            SPOTIFY

manipulating the digital
signal using the
predetermined key to
generate at least one
permutation of the digital
signal parameterized by
the file format information
defining how the digital
signal is encoded;




                              See Exhibit 11, p. 4, “Authorization Guide _ Spotify for Developers“ webpage (Date Accessed 05/03/2018),
                              available at https://beta.developer.spotify.com/documentation/general/guides/authorization-guide/ (emphasis
                              added)
               Case 2:18-cv-03970-JAK-JPR Document 30-5 Filed 07/23/18 Page 41 of 44 Page ID
                                                  #:587




      CLAIM 1                                                          SPOTIFY

manipulating the digital             “App creates one or more key sessions associated with the selected DRM system,

signal using the                     each of which will manage one or more decryption keys (licenses)
                                             The app instructs the key session to generate a license request message by
predetermined key to
                                             providing it with initialization data. The browser may provide this data by means of
generate at least one
                                             the event in Step 1, or it may be acquired by the app through other means (i.e. in an
permutation of the digital                   ABR manifest file).
signal parameterized by                      The CDM for the selected DRM system will generate a data blob (license
the file format information                  request) and deliver it to the app.
defining how the digital                     The app sends the license request to a license server.

signal is encoded;                           Upon receiving a response to its license request, the app passes the response
                                             message back to the CDM. The CDM adds to the key session any decryption
                                             keys contained within the response.”




                              See Exhibit 31, p. 2, “Encrypted Media Extensions Provide a Common Ground - CableLabs“ webpage (Date
                              Accessed 05/14/2018), available at
                              https://www.cablelabs.com/encrypted-media-extensions-provide-a-common-ground// (emphasis added)
               Case 2:18-cv-03970-JAK-JPR Document 30-5 Filed 07/23/18 Page 42 of 44 Page ID
                                                  #:588




      CLAIM 1                                                         SPOTIFY

manipulating the digital
signal using the
predetermined key to
generate at least one
permutation of the digital
signal parameterized by
the file format information
defining how the digital
signal is encoded;




                              See Exhibit 31, p. 1, “Encrypted Media Extensions Provide a Common Ground - CableLabs“ webpage (Date
                              Accessed 05/14/2018), available at
                              https://www.cablelabs.com/encrypted-media-extensions-provide-a-common-ground// (emphasis added)
               Case 2:18-cv-03970-JAK-JPR Document 30-5 Filed 07/23/18 Page 43 of 44 Page ID
                                                  #:589




      CLAIM 1                                                            SPOTIFY

manipulating the digital
signal using the
predetermined key to
generate at least one
permutation of the digital
signal parameterized by
the file format information
defining how the digital
signal is encoded;




                              See Exhibit 30, at Fig. 3, “U.S. Patent No. 9,529,888 - System and method for efficiently providing media
                              and associated metadata.” Patent assigned to Spotify (Date Accessed 05/10/2018), available at
                              https://patentimages.storage.googleapis.com/88/d4/11/6b1fc7c1e09e6b/US9529888.pdf (emphasis added)
               Case 2:18-cv-03970-JAK-JPR Document 30-5 Filed 07/23/18 Page 44 of 44 Page ID
                                                  #:590




      CLAIM 1                                                            SPOTIFY

manipulating the digital              “a media delivery module 122 for sending (e.g., streaming) media content to a client

signal using the                      device (e.g., client device 110-1) remote from sever system 120-1 in response to the
                                      request from client device 110-1, media delivery module 122 including but not limited to:
predetermined key to
                                              an encoding module 318 for encoding media content prior to sending (e.g.,
generate at least one
                                              streaming) the media content to client device 110-1 or to other content sources
permutation of the digital
                                              for storage;
signal parameterized by
                                              an encryption module 320 for encrypting one or more portions of media
the file format information                   content prior to sending (e.g., streaming) the media content to client device
defining how the digital                      110-1.
signal is encoded;                            a compression module 322 for compressing media content prior to sending
                                              (e.g., streaming) the media content to client device 110-1;
                                              an omission module 324 for omitting information from media content prior
                                              sending (e.g., streaming) the media content to client device 110-1 (e.g., by
                                              determining redundant information that can be omitted when compressing the
                                              media content while maintaining a quality of the media content above a
                                              predefined quality level); and”

                              See Exhibit 30, at Col. 11:08-32, “U.S. Patent No. 9,529,888 - System and method for efficiently providing
                              media and associated metadata.” Patent assigned to Spotify (Date Accessed 05/10/2018), available at
                              https://patentimages.storage.googleapis.com/88/d4/11/6b1fc7c1e09e6b/US9529888.pdf (emphasis added)

                              Thus, this claim element is infringed literally, or in the alternative under the doctrine of equivalents.
